                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF TENNESSEE
                                   AT KNOXVILLE


 UNITED STATES OF AMERICA                      )
                                               )
 vs.                                           )    CASE NO. 3:13-CR-161-PLR-HBG
                                               )
 GONZALO GARCIA GINES                          )



                                          ORDER



        On February 3, 2015, the Honorable H. Bruce Guyton, United States Magistrate

 Judge, filed an 13-page Report and Recommendation [R. 688], in which he recommended

 that the Petition of Eugenia Alvarez to adjudicate validity of interest in a 2006 Nissan

 Frontier be granted, and that the vehicle be returned to Ms. Alvarez.

        There being no timely objections filed by the parties, see 28 U.S.C. § 636(b)(1),

 and the court being in complete agreement with the magistrate judge, the Report and

 Recommendation [R.688] filed by the Honorable H. Bruce Guyton, United States

 Magistrate Judge, on February 3, 2015, is hereby ACCEPTED IN WHOLE whereby

 the Petition of Eugenia Alvarez to adjudicate validity of interest in a 2006 Nissan Frontier

 [R. 518] is GRANTED. The court finds that Ms. Alvarez has an ownership interest in

 the 2006 Nissan Frontier, which her ex-husband forfeited to the government [R. 417].

 The court further finds that Ms. Alvarez’s interest in the vehicle is superior to that of the

 government.




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       Accordingly, IT IS ORDERED that the United States shall return the 2006

 Nissan Frontier to Eugenia Alvarez.

       Enter:



                                        ____________________________________
                                        UNITED STATES DISTRICT JUDGE




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